      Case: 1:22-cv-03246 Document #: 1 Filed: 06/22/22 Page 1 of 14 PageID #:1




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS


 JOCELYN COLON,                                              Civil Action No.

                         Plaintiff,                          COMPLAINT FOR DECLARATORY
                                                             AND INJUNCTIVE RELIEF
          v.

 ARAMSCO, INC.,

                         Defendant.


  COMPLAINT FOR DECLARATORY AND PROSPECTIVE INJUNCTIVE RELIEF

         JOCELYN COLON (“Plaintiff”), by and through undersigned counsel, seeks a permanent

injunction requiring a change in ARAMSCO INC.’s (“Aramsco”, and “Defendant”) corporate

policies to cause its digital properties to become, and remain, accessible to individuals with visual

disabilities. In support thereof, Plaintiff respectfully asserts as follows:

                                         INTRODUCTION

         1.     This action arises from Defendant’s failure to make its digital properties accessible

to legally blind individuals, which violates the effective communication and equal access

requirements of Title III of the Americans with Disabilities Act (“ADA”), 42 U.S.C. §§ 12181-

12189.

         2.     It is estimated that 2.3 percent of the American population lives with some sort of

visual disability. See Erickson, W., Lee, C., von Schrader, S., Disability Statistics from the

American Community Survey (ACS). Ithaca, NY: Cornell University Yang-Tan Institute (YTI),

available at www.disabilitystatistics.org (last accessed June 21, 2022).

         3.     For this significant portion of Americans, accessing digital platforms, mobile

applications, and other information via their smartphones has become critical, especially during
      Case: 1:22-cv-03246 Document #: 1 Filed: 06/22/22 Page 2 of 14 PageID #:2




the current COVID-19 pandemic. Indeed, this discrimination is particularly acute during the

pandemic. According to the Centers for Disease Control and Prevention (“CDC”), Americans

living with disabilities are at higher risk for severe illness from COVID-19 and, therefore, are

recommended to shelter in place throughout the duration of the pandemic.1 This underscores the

importance of access to online retailers, such as Defendant, for this especially vulnerable

population.

       4.     During these challenging times, disabled individuals risk losing their jobs,

experiencing difficulty acquiring goods and services like health care, and being deprived of the

information they need to stay safe. See Slate, The Inaccessible Internet 2020, available at

https://slate.com/technology/2020/05/disabled-digital-accessibility-pandemic.html (last accessed

June 21, 2022).

       5.     At the same time, the share of Americans who own smartphones has climbed from

just 35% in 2011 to 81% in 2019—amounting to more than 265 million people in the United States.

See   U.S.    Census    Bureau,    U.S    and     World     Population    Clock,    available    at

https://www.census.gov/popclock/ (last accessed June 21, 2022) (U.S. population on June 12, 2019

was 328.1 million).

       6.     In this climate, it is especially important to consider factors that can facilitate or

impede technology adoption and use by people with disabilities. National Council on Disability,




1
  See Centers for Disease Control and Prevention Digital Platform, Coronavirus Disease 2019
(2019), available at https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-
at-higher-
risk.html?CDC_AA_refVal=https%3A%2F%2Fwww.cdc.gov%2Fcoronavirus%2F2019-
ncov%2Fspecific-groups%2Fhigh-risk-complications.html (last accessed June 21, 2022) (“Based
on currently available information and clinical expertise, older adults and people of any age who
have serious underlying medical conditions might be at higher risk for severe illness from
COVID-19.”).
      Case: 1:22-cv-03246 Document #: 1 Filed: 06/22/22 Page 3 of 14 PageID #:3




National      Disability   Policy:       A    Progress   Report     (Oct.     7,    2016),   available   at

https://ncd.gov/sites/default/files/NCD_ProgressReport_ES_508.pdf (last accessed June 21,

2022).

         7.      Properly formatted, digital content is universally accessible to everyone. But when

it is not, ineffective communication results. In those situations, legally blind individuals must

unnecessarily expend additional time and effort to overcome communication barriers sighted users

do not confront. These barriers may require the assistance of third parties or, in some cases, may

deny outright access to the online service. See Kasey Wehrum, Inc., Your Digital Platform is

Scaring       Customers    Away.     5       Easy Ways   to   Fix    It     (Jan.   2014),   available   at

https://www.inc.com/magazine/201312/kasey-wehrum/how-to-get-online-customers-to-

complete-purchase.html (last accessed June 21, 2022).

         8.      Screen access “software translates the visual internet into an auditory equivalent.

At a rapid pace, the software reads the content of a webpage to the user.” Andrews v. Blick Art

Materials, LLC, 17-CV-767, 2017 WL 6542466, at *6 (E.D.N.Y. Dec. 21, 2017) (J. Weinstein).

         The screen reading software uses auditory cues to allow a visually impaired user to
         effectively use digital platforms. For example, when using the visual internet, a
         seeing user learns that a link may be “clicked,” which will bring his to another
         webpage, through visual cues, such as a change in the color of the text (often text
         is turned from black to blue). When the sighted user's cursor hovers over the link,
         it changes from an arrow symbol to a hand.

         The screen reading software uses auditory—rather than visual—cues to relay this
         same information. When a sight impaired individual reaches a link that may be
         “clicked on,” the software reads the link to the user, and after reading the text of
         the link says the word “clickable.”…Through a series of auditory cues read aloud
         by the screen reader, the visually impaired user can navigate a digital platform by
         listening and responding with his keyboard.
      Case: 1:22-cv-03246 Document #: 1 Filed: 06/22/22 Page 4 of 14 PageID #:4




Id. at *6-7.2

        9.      Unfortunately, Defendant fails to communicate effectively with Plaintiff because

its digital properties are not properly formatted to allow legally blind users such as Plaintiff to

access its digital content. Accordingly, legally blind customers such as Plaintiff are deprived from

accessing information about Defendant’s products and using its online services, all of which are

readily available to sighted customers.

        10.     The United States Department of Justice Civil Rights Division has recently

provided “Guidance on Web Accessibility and the ADA.”3 It states in part, “the Department has

consistently taken the position that the ADA’s requirements apply to all the goods, services,

privileges, or activities offered by public accommodations, including those offered on the web.”

        11.     This lawsuit is aimed at providing legally blind users like Plaintiff a full and equal

experience.

                                                 PARTIES

        12.     Plaintiff is, and at all times relevant hereto has been, legally blind and is therefore

a member of a protected class under the ADA, 42 U.S.C. § 12102(2) and the regulations

implementing the ADA set forth at 28 CFR §§ 36.101et seq. Plaintiff suffers from Devic’s Disease

and has been blind since the age of sixteen. She uses an iPhone with the screen-reader application

JAWS as well as her Microsoft Windows 10 laptop. Plaintiff is, and at all times relevant hereto

has been, a resident of Chicago, Illinois




2
        See American Foundation for the Blind, Screen Readers, available at
https://www.afb.org/node/16207/screen-readers (last accessed June 21, 2022) (discussing screen
readers and how they work).
3
    See ADA.Gov, Guidance on Web Accessibility and the ADA, available at
https://beta.ada.gov/web-guidance/ (last accessed June 21, 2022) (“DOJ Guidance”).
      Case: 1:22-cv-03246 Document #: 1 Filed: 06/22/22 Page 5 of 14 PageID #:5




       13.      Defendant is a Maryland corporation with its principal place of business located at

1480 Grandview Avenue, Paulsboro, New Jersey, 08066. Defendant is a leader in the sales and

distribution of equipment and chemicals under its recognized brand name Aramsco.

       14.      Consumers may purchase Defendant’s products and access other brand-related

content and services at https://www.aramsco.com/ (“Digital Platform”), the Digital Platform

Defendant owns, operates, and controls.

       15.      In addition to researching and purchasing Defendant’s products and services from

the comfort and convenience of their homes, consumers may also use Defendant’s Digital Platform

to contact customer service by phone and email, sign up to receive product updates, product news,

and special promotions, review important legal notices like Defendant’s Privacy Policy and Terms

and Conditions, and more.4

       16.      Defendant is responsible for the policies, practices, and procedures concerning the

Digital Platform’s development and maintenance.

       17.      Because Defendant’s Digital Platform is not and has never been fully accessible,

and because upon information and belief Defendant does not have, and has never had, adequate

corporate policies that are reasonably calculated to cause its digital properties to become and

remain accessible, Plaintiff invokes 42 U.S.C. § 12188(a)(2) and seeks prospective injunctive

relief requiring Defendant to:

             a) Retain a qualified consultant acceptable to Plaintiff (“Web Accessibility
                Consultant”) who shall assist in improving the accessibility of its Digital Platform,
                including all third-party content and plug-ins, so the goods and services on the
                Digital Platform may be equally accessed and enjoyed by individuals with vision
                related disabilities;

             b) Work with the Web Accessibility Consultant to ensure all employees involved in
                Digital Platform and content development be given web accessibility training on a


4
       See, e.g., Defendant’s Home Page, available at https://www.aramsco.com/
Case: 1:22-cv-03246 Document #: 1 Filed: 06/22/22 Page 6 of 14 PageID #:6




       biennial basis, including onsite training to create accessible content at the design
       and development stages;

    c) Work with the Web Accessibility Consultant to perform an automated accessibility
       audit on a periodic basis to evaluate whether Defendant’s Digital Platform may be
       equally accessed and enjoyed by individuals with vision related disabilities on an
       ongoing basis;

    d) Work with the Web Accessibility Consultant to perform end-user
       accessibility/usability testing on at least a quarterly basis with said testing to be
       performed by humans who are blind or have low vision, or who have training and
       experience in the manner in which persons who are blind use a screen reader to
       navigate, browse, and conduct business on Digital Platforms, in addition to the
       testing, if applicable, that is performed using semi-automated tools;

    e) Incorporate all of the Web Accessibility Consultant’s recommendations within
       sixty (60) days of receiving the recommendations;

    f) Work with the Web Accessibility Consultant to create a Web Accessibility Policy
       that will be posted on its Digital Platform, along with an e-mail address, instant
       messenger, and toll-free phone number to report accessibility-related problems;

    g) Directly link from the footer on each page of its Digital Platform, a statement that
       indicates that Defendant is making efforts to maintain and increase the accessibility
       of its Digital Platform to ensure that persons with disabilities have full and equal
       enjoyment of the goods, services, facilities, privileges, advantages, and
       accommodations of the Defendant through the Digital Platform;

    h) Accompany the public policy statement with an accessible means of submitting
       accessibility questions and problems, including an accessible form to submit
       feedback or an email address to contact representatives knowledgeable about the
       Web Accessibility Policy;

    i) Provide a notice, prominently and directly linked from the footer on each page of
       its Digital Platform, soliciting feedback from visitors to the Digital Platform on how
       the accessibility of the Digital Platform can be improved. The link shall provide a
       method to provide feedback, including an accessible form to submit feedback or an
       email address to contact representatives knowledgeable about the Web
       Accessibility Policy;

    j) Provide a copy of the Web Accessibility Policy to all web content personnel,
       contractors responsible for web content, and Client Service Operations call center
       agents (“CSO Personnel”) for the Digital Platform;

    k) Train no fewer than three of its CSO Personnel to automatically escalate calls from
       users with disabilities who encounter difficulties using the Digital Platform.
       Defendant shall have trained no fewer than 3 of its CSO personnel to timely assist
       such users with disabilities within CSO published hours of operation. Defendant
      Case: 1:22-cv-03246 Document #: 1 Filed: 06/22/22 Page 7 of 14 PageID #:7




                shall establish procedures for promptly directing requests for assistance to such
                personnel including notifying the public that customer assistance is available to
                users with disabilities and describing the process to obtain that assistance;

             l) Modify existing bug fix policies, practices, and procedures to include the
                elimination of bugs that cause the Digital Platform to be inaccessible to users of
                screen reader technology;

             m) Plaintiff, her counsel, and their experts monitor the Digital Platform for up to two
                years after the Mutually Agreed Upon Consultant validates the Digital Platform is
                free of accessibility errors/violations to ensure Defendant has adopted and
                implemented adequate accessibility policies. To this end, Plaintiff, through her
                counsel and their experts, shall be entitled to consult with the Web Accessibility
                Consultant at their discretion, and to review any written material, including but not
                limited to any recommendations the Digital Platform Accessibility Consultant
                provides Defendant.

       18.      Digital platforms have features and content that are modified on a daily, and in

some instances an hourly, basis, and a one time “fix” to an inaccessible digital platform will not

cause the digital platform to remain accessible without a corresponding change in corporate

policies related to those web-based technologies. To evaluate whether an inaccessible digital

platform has been rendered accessible, and whether corporate policies related to web-based

technologies have been changed in a meaningful manner that will cause the digital platform to

remain accessible, the digital platform must be reviewed on a periodic basis using both automated

accessibility screening tools and end user testing by disabled individuals.

                                  JURISDICTION AND VENUE

       19.      The claims alleged arise under Title III such that this Court’s jurisdiction is invoked

pursuant to 28 U.S.C. § 1331 and 42 U.S.C. § 12188.

       20.      Defendant participates in the State’s economic life by performing business over the

Internet. Through its Digital Platform, Defendant entered into contracts for the sale of its products

and services with residents of Illinois. These online sales contracts involve, and indeed require,

Defendant’s knowing and repeated transmission of computer files over the Internet. See Reed v. 1-
      Case: 1:22-cv-03246 Document #: 1 Filed: 06/22/22 Page 8 of 14 PageID #:8




800-Flowers.com, Inc., 327 F. Supp. 3d 539 (E.D.N.Y. 2018) (exercising personal jurisdiction

over forum plaintiff’s digital platform accessibility claims against out-of-forum digital platform

operator); Andrews v. Blick Art Materials, LLC, 286 F. Supp. 3d 365 (E.D.N.Y. 2017) (same).

        21.     Plaintiff was injured when she attempted to access Defendant’s Digital Platform

from her home in this District in an effort to shop for Defendant’s products but encountered barriers

that denied her full and equal access to Defendant’s online goods, content, and services. Plaintiff

had wished to purchase cleaning supplies, but was unable to do so because of the barriers that exist

on Defendant’s Digital Platform.

        22.     Venue in this District is proper under 28 U.S.C. § 1391(b)(2) because this is the

judicial district in which a substantial part of the acts and omissions giving rise to Plaintiff’s claim

occurred.

                           FACTS APPLICABLE TO ALL CLAIMS

        23.     While the increasing pervasiveness of digital information presents an

unprecedented opportunity to increase access to goods, content, and services for people with

perceptual or motor disabilities, digital platform developers and web content developers often

implement digital technologies without regard to whether those technologies can be accessed by

individuals with disabilities. This is notwithstanding the fact that accessible technology is both

readily available and cost effective.

                             DEFENDANT’S ONLINE CONTENT

        24.     Defendant’s Digital Platform allows consumers to research and participate in

Defendant’s services and products from the comfort and convenience of their own homes.
      Case: 1:22-cv-03246 Document #: 1 Filed: 06/22/22 Page 9 of 14 PageID #:9




        25.       The Digital Platform also enables consumers to contact customer service by phone,

sign up to receive product updates, product news, and special promotions, review important legal

notices like Defendant’s Privacy Policy and Terms and Conditions, and more.

        26.       Consumers may use the Digital Platform to connect with Defendant on social

media, using sites like Facebook, Twitter, Instagram, and YouTube.

                                       HARM TO PLAINTIFF
        27.       Plaintiff attempted to access the Digital Platform from her home in Chicago, Illinois

to purchase cleaning supplies. Unfortunately, because of Defendant’s failure to build the Digital

Platform in a manner that is compatible with screen access programs, Plaintiff is unable to

understand, and thus is denied the benefit of, much of the content and services she wishes to access

on the Digital Platform. The following are illustrative (but, importantly, not exhaustive) examples

of a few of the accessibility barriers observed on the Digital Platform:

                  a.     The homepage carousel contains promotional images that are not

accessible. Each slide contains an image with embedded text, but is not announced. For example,

the “Smart Buy” image contains promotional text, but is announced simply as “link graphic”

followed by a long URL. The content in the image is not announced and an accessible alternative

is not present.
    Case: 1:22-cv-03246 Document #: 1 Filed: 06/22/22 Page 10 of 14 PageID #:10




               b.      The search feature is a key component of Defendant’s Digital Platform

because it includes “over 40,000 products” as noted in the “About Us” section. However, the

search feature is not accessible to the screen-reader user. For example, the search field is

announced as “blank.” Furthermore, the search icon does not receive focus and is not announced.




               c.      The account “Sign In” button is inaccessible. The button does not receive

focus and is not announced. Screen-reader users are unable to navigate to this feature and are

unable to access their account.




       28.     These barriers, and others, deny Plaintiff full and equal access to all of the services

the Digital Platform offers, and now deter her from attempting to use the Digital Platform to buy

Defendant’s goods and services. Still, Plaintiff would like to, and intends to, attempt to access the
    Case: 1:22-cv-03246 Document #: 1 Filed: 06/22/22 Page 11 of 14 PageID #:11




Digital Platform in the future to research the products and services the Digital Platform offers, or

to test the Digital Platform for compliance with the ADA.

       29.     If the Digital Platform was accessible, i.e. if Defendant removed the access barriers

described above, Plaintiff could independently research and purchase Defendant’s products and

access its other online content and services.

       30.     The law requires that Defendant reasonably accommodate Plaintiff’s disabilities by

removing these existing access barriers. Removal of the barriers identified above is readily

achievable and may be carried out without much difficulty or expense.

       31.     Plaintiff has been, and in the absence of an injunction will continue to be, injured

by Defendant’s failure to provide its online content and services in a manner that is compatible

with screen reader technology.

                                 SUBSTANTIVE VIOLATIONS

                                            COUNT I

                         Title III of the ADA, 42 U.S.C. § 12181 et seq.

        32.    The assertions contained in the previous paragraphs are incorporated by reference.

        33.    Title III of the ADA guarantees that individuals with disabilities shall have full and

equal enjoyment of the products, services, facilities, privileges, advantages, or accommodations of

any place of public accommodation.

        34.    Defendant is bound by the regulations implementing Title III of the ADA, which

require that places of public accommodation ensure effective communication to individuals with

disabilities. 28 C.F.R. § 303(c). See also DOJ Guidance (stating “[s]ince 1996, the Department of

Justice has consistently taken the position that the ADA applies to web content.”)

        35.    Plaintiff is legally blind and therefore an individual with a disability under the

ADA.
    Case: 1:22-cv-03246 Document #: 1 Filed: 06/22/22 Page 12 of 14 PageID #:12




        36.     Defendant is a place of public accommodation under the ADA because it is a “sales

or rental establishment” and/or “other service establishment.” 42 U.S.C. § 12181(7)(E), (F).

        37.     Title III of the ADA guarantees that individuals with disabilities shall have full and

equal enjoyment of the products, services, facilities, privileges, advantages, or accommodations of

any place of public accommodation. 42 U.S.C. § 12182; 28 C.F.R. §36.201.

        38.     Defendant owns, operates, or maintains the Digital Platform.

        39.     The Digital Platform is a service, facility, privilege, advantage, or accommodation

of Defendant.

        40.     Title III of the ADA guarantees that individuals with disabilities shall have full and

equal enjoyment of the products, services, facilities, privileges, advantages, or accommodations of

any place of public accommodation. See also DOJ Guidance (explaining “[b]usinesses open to the

public must take steps to provide appropriate communication aids and services (often called

“auxiliary aids and services”) where necessary to make sure they effectively communicate with

individuals with disabilities.”)

        41.     Specifically, “[e]ven though businesses and state and local governments have

flexibility in how they comply with the ADA’s general requirements of nondiscrimination and

effective communication, they still must ensure that the programs, services, and goods that they

provide to the public—including those provided online—are accessible to people with

disabilities.” DOJ Guidance.

                     PRAYER FOR DECLARATORY JUDGMENT AND
                         PROSPECTIVE INJUNCTIVE RELIEF

       WHEREFORE, Plaintiff prays for:

       (A)      A Declaratory Judgment that at the commencement of this action Defendant was in

violation of the specific requirements of Title III of the ADA described above, and the relevant
    Case: 1:22-cv-03246 Document #: 1 Filed: 06/22/22 Page 13 of 14 PageID #:13




implementing regulations of the ADA, in that Defendant took no action that was reasonably

calculated to ensure that its Digital Platform was fully accessible to, and independently usable by,

individuals with visual disabilities;

       (B)     A permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR §

36.504(a) which directs Defendant to take all steps necessary to bring its Digital Platform into full

compliance with the requirements set forth in the ADA, and its implementing regulations, so that

its Digital Platform is fully accessible to, and independently usable by, blind individuals, and

which further directs that the Court shall retain jurisdiction for a period to be determined to ensure

that Defendant has adopted and is following an institutional policy that will in fact cause it to

remain fully in compliance with the law, including the specific prospective injunctive relief

described more fully in paragraph 17 above.

       (C)     Payment of costs of suit;

       (D)     Payment of reasonable attorneys’ fees, pursuant to 42 U.S.C. § 12205 and 28 CFR

§ 36.505, including costs of monitoring Defendant’s compliance with the judgment (see

Gniewkowski v. Lettuce Entertain You Enterprises, Inc., Case No. 2:16-cv-01898-AJS (W.D. Pa.

Jan. 11, 2018) (ECF 191) (“Plaintiffs, as the prevailing party, may file a fee petition before the

Court surrenders jurisdiction. Pursuant to Pennsylvania v. Delaware Valley Citizens’ Council for

Clean Air, 478 U.S. 546, 559 (1986), supplemented, 483 U.S. 711 (1987), the fee petition may

include costs to monitor Defendant’s compliance with the permanent injunction.”); see also Access

Now, Inc. v. LAX World, LLC, No. 1:17-cv-10976-DJC (D. Mass. Apr. 17, 2018) (ECF 11) (same);

       (E)     Payment of nominal damages;

       (F)     The provision of whatever other relief the Court deems just, equitable and

appropriate; and
    Case: 1:22-cv-03246 Document #: 1 Filed: 06/22/22 Page 14 of 14 PageID #:14




         (G)   An Order retaining jurisdiction over this case until Defendant has complied with

the Court’s Orders in regard to the specific prospective injunctive relief described at paragraph 17

above.

Dated: June 22, 2022                              Respectfully Submitted,


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